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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


    United States of America, et al.,

                                  Plaintiffs,          Case No. 1:20-cv-03010-APM

    v.                                                 HON. AMIT P. MEHTA
    Google LLC,

                                  Defendant.




    State of Colorado, et al.,

                                  Plaintiffs,          Case No. 1:20-cv-03715-APM

    v.                                                 HON. AMIT P. MEHTA
    Google LLC,

                                  Defendant.




                                        JOINT STATUS REPORT

          In accordance with the Court’s Minute Order dated June 29, 2021, the parties in United

States v. Google LLC and State of Colorado v. Google LLC submit the following Joint Status

Report summarizing the state of discovery and identifying any issues between the parties, and

the parties’ respective positions, that will be raised at the status hearing scheduled for July 30,

2021.1


1
  In accordance with the Court’s Minute Order dated July 12, 2021, Google will submit under
separate cover a discovery dispute between Google and a third party that is ripe for resolution at
the hearing scheduled for July 30, 2021.
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I.      Case No. 1:20-cv-03010

        A.         Google’s Discovery of Plaintiffs

        A summary of Google’s First Set of Requests for Production and prior document

productions made by Plaintiffs are set forth in the parties’ earlier Joint Status Reports, including

their reports dated February 23 (ECF No. 111), March 26 (ECF No. 124), April 23 (ECF No.

131), May 24 (ECF No. 135), and June 24 (ECF No. 149). On July 9, Plaintiffs produced to

Google correspondence with subpoena recipients regarding the legal claims against Google in

this litigation.

        B.         Plaintiffs’ Discovery of Google

        A summary of Plaintiffs’ First and Second Sets of Requests for Production and the

document productions made by Google prior to May 24 are set forth in the parties’ earlier Joint

Status Reports, including their reports dated February 23 (ECF No. 111), March 26 (ECF No.

124), April 23 (ECF No. 131), May 24 (ECF No. 135), and June 24 (ECF No. 149). Google

produced additional documents in response to Plaintiffs’ First and Second Requests for

Production on June 30, July 19 and July 22. Together these productions included approximately

227,000 documents. Plaintiffs served their Third Set of Requests for Production on June 21, and

Google served its responses and objections on July 21. On July 20, Google produced to Plaintiffs

correspondence from outside counsel with third-party subpoena recipients.

        Pursuant to the Court’s instruction at the June 29 status conference, the parties have met

and conferred and exchanged correspondence regarding the production, distribution, and use of

Google employees’ self-assessments and performance reviews. The parties have reached

agreement on the production of these materials. The parties continue to negotiate the procedures

to be followed after these documents are used in depositions. The parties anticipate reaching



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resolution on this issue shortly. If the parties cannot reach resolution on this issue, the parties will

raise any disputed issues with the Court.

       C.      The Parties’ Discovery of Third-Parties

       A summary of the third-party discovery requests issued by the parties prior to May 24 is

set forth in the parties’ earlier Joint Status Reports, including their reports dated February 23

(ECF No. 111), March 26 (ECF No. 124), April 23 (ECF No. 131), May 24 (ECF No. 135), and

June 24 (ECF No. 149). The parties have issued document subpoenas to approximately 82 third

parties in total. The parties anticipate that they will continue to issue additional document

subpoenas as discovery progresses.

II.    Case No. 1:20-cv-03715

            A. Google’s Discovery of Plaintiff States

       A summary of Google’s First Set of Requests for Production and the document

productions made by Plaintiffs to date are set forth in the parties’ earlier Joint Status Reports,

including their reports dated March 26 (ECF No. 124), April 23 (ECF No. 131), May 24 (ECF

No. 135), and June 24 (ECF No. 149).

            B. Plaintiff States’ Discovery of Google

       A summary of Plaintiff States’ First Set of Requests for Production and the parties’ meet

and confer discussions are set forth in the parties’ earlier Joint Status Reports, including their

reports dated March 26 (ECF No. 124), April 23 (ECF No. 131), May 24 (ECF No. 135), and

June 24 (ECF No. 149). Google has continued to produce to Plaintiff States the documents and

data produced to the U.S. Department of Justice and its co-plaintiffs in Case No. 1:20-cv-03010.

       Since the last status conference on June 29, the parties have continued to meet and confer

regarding Plaintiff States’ data requests. On July 14, Plaintiff States and Google submitted a joint



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status report updating the Court on their progress with respect to Plaintiff States’ data requests.

Although the parties have made progress on the data requests, some disputed issues remain. The

parties have set forth in Sections III and IV their respective positions regarding these issues.

           C. The Parties’ Discovery of Third Parties

       The parties have issued document subpoenas to approximately 82 third parties. All third

parties that have received a subpoena from Plaintiff States have received a cross-subpoena from

Google. Similarly, all third parties that have received a subpoena from Google have received a

cross-subpoena from Plaintiff States. Both parties anticipate that they will continue to issue

additional document subpoenas as discovery progresses.

III.   The Plaintiffs States’ Position Statement

       The Plaintiff States’ Complaint alleges that “Google throttles consumer traffic to

specialized vertical providers” as a means of maintaining its search-related monopolies. Compl. ¶

57, No. 20-cv-03715, ECF No. 3 (“Compl.”). Specialized vertical providers, such as familiar

companies like Expedia or Yelp, do not provide general search services but they do pose a

unique threat to Google. This is because these companies offer additional functionalities, such as

the ability to buy an airline ticket or make a restaurant reservation, which might lead consumers

to stop going to Google search on their way to completing a transaction. However, as a result of

the anticompetitive conduct alleged in Plaintiff States’ Complaint, “consumers do not as readily

bypass general search by going directly to a specialized vertical provider’s website in the way

they could in a more competitive marketplace.” Compl. ¶ 172. Providing such an alternative

route is one way in which specialized vertical providers “could become more valuable partners

for general search engines, which could strengthen such Google competitors and weaken barriers

to expansion or entry in search-related markets.” Compl. ¶ 38. The emphasis on the specialized



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vertical providers is one way that the Plaintiff States’ Complaint, as this Court recognized,

“builds on and expands the theories of liability from those” contained within the complaint filed

by the Department of Justice. Tr. of Dec. 18, 2020 Status Conference at 12:13-4.

       Thus, the journeys that consumers take—from the entry of keywords into Google search

to the moment they complete their transactions (or decide not to complete one)—are critical to

the Plaintiff States’ case. For example, the pending data that has been requested would allow

Plaintiff States to determine how users journey from Google search to other Google owned and

operated properties and/or to other third-party websites. Understanding what users (1) search for;

(2) see in response to those searches (e.g., advertisements and organic links); (3) click on; and

(4) subsequently search for, is critical to Plaintiff States’ case. These data are needed to analyze

the effects of Google’s discriminatory conduct against specialized vertical providers and to

define the distinct market alleged by Plaintiff States. Google understands this need because

Google itself analyzes such journeys as part of its ordinary commercial activities, and Google’s

own economists will likely review such data to challenge the Plaintiff States’ contentions.

       Despite Google’s enormous resources2 and its role as a company designed to “organize

the world’s information,” see https://blog.google/products/search/information-sources-google-

search/, Google has repeatedly failed to meet its own commitments to provide Plaintiff States

with the data they need to move forward.

       Importantly, and as Google has recognized, see July 14, 2021 Joint Status Report, ECF

No. 158, the current process is in part a preliminary one, designed to provide the Plaintiff States




2
 On the morning of July 27, Google’s market cap stood at $1.79 trillion, see
https://www.bing.com/search?q=google+market+cap&cvid=338cabe1f87a4921ad62d60eb6dfc0
0f&aqs=edge.0.69i59j0l6.2840j0j4&FORM=ANAB01&PC=U531.

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with an adequate enough understanding of Google’s data resources to conduct the kind of

analyses of users’ journeys that Google itself conducts.

       And time is running out. Plaintiff States served the pending preliminary data requests as

part of its First Requests for Production (“First RFPs”) in February, and the parties have held at

least twelve detailed meet and confers since April 14. Yet as of today, Google has failed to fully

shoulder its discovery obligations.3 And that poses a long-term threat. Expert reports are due in

April 2022, which is less than nine months away. Between now and then, (1) Google needs to

finish providing the preliminary data and related documents, (2) Plaintiff States will submit their

full-fledged data requests, (3) Google will need to produce the data, and then (4) the economists

will need to complete their analyses and prepare their export reports.

       This is already a tall order but one that can be accomplished if the Court directs Google

to complete its preliminary production of data and related documents by August 27 (as detailed

more specifically below) and plan now to have the resources available to speedily process the

full-fledged requests, which the Plaintiff States hope to serve by the end of September, assuming

Google completes its preliminary production by August 27.

       The Plaintiff States know of no objective reason that Google cannot move quickly if it

wishes to do so. For Plaintiff States to formulate full-fledged data requests, Google must stop

delaying and establish deadlines that it will actually meet in order to produce the following data

and related documents without undue further delay.

       Plaintiff States detail below the leading examples of Google’s failures.




3
 As part of its efforts to nail down its understanding of Google’s data, the Plaintiff have noticed
a 30(b)(6) deposition for September 14 to understand, inter alia, what data sets Google uses to
analyze user journeys.

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        A.     Google’s has unreasonably delayed in producing a meaningful sessions data
               sample.

        First, and most importantly, Google has resisted producing a meaningful sample of its

sessions data for several months. Sessions data include the sequence of searches that users make.

For example, this data can determine if a set of users searched for “hotels in Denver,” clicked on

Google’s Hotel Unit, then later searched for “Hotels in Denver Expedia,” and finally reached an

online travel agency by clicking through on a particular type of advertisement or organic link.

All of this is relevant to Plaintiff States’ claims that Google has raised costs to specialized

vertical providers.4

        On June 2, after the sessions data sample had been discussed on several meet and

confers,5 Plaintiff States proposed a methodology that Google could use to generate the sessions

data sample. Several weeks later, on June 23, Google asserted that it needed two to three weeks

to conduct a manual review to assess whether Plaintiff States’ proposed sampling methodology

would adequately protect user privacy, in its view.6 Google also noted that it would determine by

mid-July whether it needs to collect sessions data manually (which would cause further delay),

as opposed to through an automated process. Email from F. Rubinstein to J. Conrad, June 23,

2021.




4
 Both the Plaintiff States and Google are working carefully to ensure that no individual user will
ever be able to be identified.
5
 Prior to June 2, the sessions data sample was discussed during meet and confers on April 14,
May 11, and May 21.
6
 Plaintiff States do not concede this manual review process was necessary, particularly since
Google failed to respond with adequate specificity to Plaintiff States’ request for a description of
how the process was conducted.

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       However, Google did not complete its manual review within two to three weeks, as

promised; it only agreed to use Plaintiff States’ proposed sampling methodology yesterday, July

26. Moreover, Google did not determine by mid-July whether it needs to collect sessions data

manually, as promised; as of today, July 27, Google is still investigating the timing for

production. There is no deadline in place.

       B.      Google has failed to conduct a reasonable search for data dictionaries, which
               are both useful for understanding sample sessions data (once produced) and
               will inform Plaintiff States’ full-fledged data request.

       Plaintiff States have also requested that Google produce data dictionaries for its sessions

data. Data dictionaries serve as documentation of the organization and structure of data sets,

which include the size, definition of variables, and general description of the data sets. Such

documents are critical for our economic experts to understand the data Google maintains in the

ordinary course of business, both to inform Plaintiff States’ full-fledged data request and also as

a matter of fairness—Google’s own economic experts will no doubt be thoroughly informed

about Google’s data.

       After Google failed to produce any documents that could reasonably substitute for data

dictionaries, Plaintiff States identified and shared with Google selected data dictionaries that

Google produced during the Federal Trade Commission’s investigation. See Letter from J.

Conrad to F. Rubinstein at 2, June 13, 2021. Because Google does in fact maintain data

dictionaries in the ordinary course of business (contrary to its prior representations), Plaintiff

States reasserted their request for responsive documents. Although Google produced five

documents (in total) in response to Plaintiff States’ request for updated versions of the data

dictionaries produced to the FTC, it has not responded to a request that it conduct a reasonable

search for other responsive documents. As a result, Plaintiff States have been left without

documents describing Google’s sessions data for several months.
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       C.      Google has unreasonably delayed in producing launch reports, which are
               needed before Plaintiff States can serve certain full-fledged data requests.

       Google routinely prepares launch reports that describe the changes it makes to its search

engine results page and related experiments it conducts, for example, when it tries out a new

feature. These reports are critically important because Plaintiff States plan to use the reports to

identify important Google changes that their expert economists will analyze, which will inform

certain full-fledged data requests they intend to make. On July 9, after discussing launch reports

during five meet and confers,7 Google stated that it would try to produce most launch reports by

the end of July. Letter from F. Rubinstein to J. Conrad at 2, July 9, 2021. Yet despite this

commitment, Google informed Plaintiff States on July 22 that the production of launch reports

has been delayed and most reports will not be produced until mid-August or the end of August.

These types of delays have been indicative of this process.

       D.      Google has unreasonably delayed in producing aggregated search data.

       Separately, Plaintiff States’ First RFPs served on February 24 contain several requests

(Request Nos. 36-38) for more aggregated search data. These RFPs seek specific metrics related

to users’ journeys on Google search (e.g., queries, clicks on organic links, ads, and SERP

features) for different types of queries, including queries related to Google’s verticals and

specific brands, such as specialized vertical providers—topics central to Plaintiff States’ case

theories. On June 8, after discussing these data requests during four meet and confers,8 Google




7
 Prior to July 9, launch reports were discussed during meet and confers on June 10, June 14,
June 17, June 22, and June 28.
8
 Prior to June 8, Request No. 36 was discussed during meet and confers on April 14, May 11,
May 21, and June 3, and Request Nos. 37 and 38 were discussed during meet and confers on
April 14, May 5, May 11, and May 21.

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informed us that it anticipated completing collection of the data by mid-July with delivery of

hard drives to follow. Letter from F. Rubinstein to J. Conrad at 2, June 8, 2021.

       Google, however, failed to meet its promised production schedule. On July 21, Google

informed Plaintiff States that it did not expect to produce data responsive to Request Nos. 37 and

38 until the middle of August. Letter from F. Rubinstein to J. Conrad at 1, July 21, 2021. For

Request No. 36, Google stated during the July 22 meet and confer that it will likely produce

much of the requested data by the end of July or early August, but not variables relating to

Google’s verticals. And Google could not provide a date by which it would produce these

variables, which are critically important to Plaintiff States’ case. The reason for this delay is

obvious: Google admitted on July 12 that it had not yet even identified data sources that may be

needed to respond to Plaintiff States’ requests regarding Google’s verticals. As of today, Google

has not committed to produce these data at any time certain.

                                                ***

       To ensure that Plaintiff States begin receiving data promptly and avoid any other delays,

Plaintiff States request the Court order that Google (1) provide production schedules for the

outstanding data requests and related documents by August 2, (2) begin producing responsive

data and documents by no later than August 13, and (3) complete production of these materials

by no later than August 27.

IV.    Google’s Position Statement

       The parties have not reached an impasse on any of Plaintiffs’ requests and Google has

agreed to fulfill nearly all of Plaintiffs’ requests by the end of August. Contrary to the Colorado

Plaintiffs’ (“Plaintiffs”) submission, Google is not delaying production or withholding data

responsive to Plaintiffs’ questions that it has at its fingertips. The countless requests for data and

information that Plaintiffs make on a weekly basis are complex and Google has worked tirelessly
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to obtain (and has produced much) responsive information. While Plaintiffs now take issue with

the pace of some of Google’s responses, the fact is that every one of the data requests Plaintiffs

now raise has required Google to create a bespoke technical solution to answer. For example, a

number of the requests required Google’s engineers to write special scripts to compile the

requested data.

       Over the past three months, Google has produced reams of documents and massive

amounts of data, all while entertaining scores of follow-on informal requests from

Plaintiffs. Google has engaged in near-weekly (sometimes bi-weekly), lengthy discussions with

Plaintiffs, during which Google has attempted to answer every question posed. Google has also

provided dozens of pages of written correspondence on these topics, again in an effort to answer

Plaintiffs’ many inquiries. Responding to these types of requests, and the inevitable follow up-

questions, takes considerable time and requires information from multiple sources.

       Plaintiffs argue that Google has delayed producing documents or data responsive to (i)

Plaintiffs’ Request No. 15 (launch reports); (ii) Request 33 (sessions logs and data dictionaries);

(iii) Request 36 (search query and ad data); and (iv) Requests 37-38 (search and ads data for

queries for 74 “Selected Brands”). Google has been consistently engaged with Plaintiffs to agree

on the scope and parameters of Google’s productions in response to these requests and has kept

Plaintiffs apprised of its progress through the parties’ many calls and lengthy written

correspondence. Google has not “delayed”—rather, Google has worked diligently to create

custom technical solutions to respond to each request, and building those solutions has taken

time. Google has already begun producing documents and data responsive to these requests, and

for the requests where the parties have agreed on scope, anticipates substantially completing its

production in August.



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       Google provides more detailed responses to each of Plaintiffs’ issues below.

       A.      Google’s Response to RFP 15 (Search and Search Ads Launch Reports)

       Plaintiffs’ Request 15 relates to Google’s Search and Search Ads “launch reports.” Each

Search and Search Ads launch report describes a specific product design change and includes

information to be considered in deciding whether to launch the change. Google has agreed to

produce to Plaintiffs all launch reports relating to search and search advertising going back to

2010. This effort requires Google to extract and review tens of thousands of documents. Google

made an initial production of launch reports on July 22, 2021, and Google anticipates completing

a rolling production of the launch reports by end of August.

       Plaintiffs are dissatisfied with the pace of Google’s production, but Google has been

working diligently to resolve technical issues associated with extracting, reviewing, and

producing these reports. Extracting the launch reports from Google’s internal, custom-built

database is not a simple matter. Google had to enlist engineering resources to build a bespoke

technical solution to extract the reports en masse. Even after the tool was built, certain sets of

launch reports caused errors and required additional trouble-shooting. Google has kept Plaintiffs

apprised of these issues, and with its collection and review now well underway, expects to

complete production by the end of August.

       B.      Google’s Response to RFP 33 (Sessions Logs Sampling Methodology; Data
               Dictionaries)

       Plaintiffs’ RFP 33 asks for all data in a “sessions data log” for three different days. The

“sessions logs” reflect data on individual user searches. The logs are massive. A single day of

session logs is over               per day worldwide (about

          ) and the U.S. portion is              . Sessions logs are not maintained in a human-

readable format -                           . Even after being translated into a technically human-


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readable format, the logs are complex and difficult to parse.

       Google objected to Plaintiffs’ request on both burden and privacy grounds (due to the

sensitive nature of user query data). In the parties’ first meet and confer in April regarding data

requests, Google proposed that Plaintiffs articulate the specific information they were seeking,

which would allow Google to collect and produce only that specific information from the

sessions logs—rather than producing the voluminous sessions logs themselves. Plaintiffs

declined, insisting that they did not know enough information to be able to specify the

information they were seeking in their request. Plaintiffs have since requested data dictionaries,

data samples, and have asked highly technical follow-on questions over the past months. Google

has attempted to answer every single request while at the same time responding to Plaintiffs’

data RFPs 36-38 (see the next section) that have required writing new computer scripts and

generating information that it does not maintain in the ordinary course of business.

       In short, Plaintiffs made the requests for sessions logs data without understanding what

the sessions logs are. Plaintiffs’ bottom-up approach was bound to result in an iterative

process. To date, Plaintiffs still have not identified the specific information from the sessions

logs they seek. Instead, they are trying to digest and analyze the entire beach by asking Google

to describe every grain of sand on it, and then asking questions about those answers. By way of

example, Plaintiffs have followed up on their request for sample sessions logs with iterations of

questions:

      After receiving a listing of the over          fields in the sessions logs, Plaintiffs asked

       Google to identify every one of the fields                           . After consulting with

       multiple people on the logs teams, Google explained that it could not answer that

       question with precision given the              fields, and the most reliable information in



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         response to Plaintiffs’ questions is the sample itself (which Google already provided).9

        Plaintiffs asked Google to provide the “proto” files associated with the sample sessions

         logs.10 Google provided over           of these files. Google also answered numerous

         other questions about the structure and contents of the logs.

         With respect to the specific purported delays Plaintiffs identified in their notice of

disputed issues—regarding data dictionaries and sessions logs sampling—Google has produced

the documents it could locate and has agreed to proceed with the production of a 5% sample of

sessions logs. As detailed below, Google has already responded to Plaintiffs’ iterative requests

with either the information requested or an agreement to produce it—again, there is no dispute

requiring Court intervention.

                1.      Data Dictionaries

         Plaintiffs asked for a “Data Dictionary” explaining all the fields in a sessions log. Google

explained that it did not have a comprehensive data dictionary due to the

                           in the sessions logs, nor did it have centrally stored documents defining

the sessions log fields. On June 13, 2021, Plaintiffs identified a few documents that discussed

sessions logs (documents that Google had produced to Plaintiffs 16 months earlier) and asked

Google to provide updated or similar versions of those previously produced documents. In

response to this request, Google investigated and confirmed that no updated versions

existed. Then, on June 21, Plaintiffs asked Google to search for documents that might provide


9
                           can add fields to be logged in sessions logs at any time; those fields
are not removed even if the field is no longer used or the data are not kept.
10
  Google stores most of its data, including logs, in a compact, fast format called protocol buffers
(protobufs for short). Protobufs are structured as messages which contain fields, which can be
numeric, text, or another message. Fields can also have metadata attached, such as data policy
annotations. Protobufs are defined by "proto files", which can be used to generate interfaces for
programs to access protobuf data.
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an explanation of the variables in the sessions logs or live experiments. Google conducted a

reasonable search and produced additional responsive documents within three weeks of this

request. Plaintiffs then asked Google to produce additional documents that were linked in the

documents Google provided, and Google produced those within one week. Plaintiffs also asked

for a list of all the “fields” in the sessions logs. Google generated a list of the approximately

          fields that could be in a sessions log and provided it. As Google has responded to every

one of Plaintiffs’ follow up requests regarding “Data Dictionaries,” Google does not understand

there to be a dispute.

                2.       Sessions Logs Sampling

       Plaintiffs asked for a “sample” of sessions logs and Google agreed to provide 270 sample

sessions containing queries within the categories of search “verticals” Plaintiffs identified as

relevant to their claims. Google also explained that it would need to manually review the sample

to address privacy concerns and exclude any sessions where an individual user could be

identified based on the searches in the session. After enlisting an engineer to write a script to

download and process the 270 sessions, and after reviewing each, Google provided the sample

on June 18, 2021. As expected, the sample sessions data have generated extensive additional

follow up questions that required Google to do more custom engineering work and research to

answer.

       After Google began working on the 270-session sample, Plaintiffs then informed Google

that they “anticipated” that the sample would be “inadequate” (to assess what, Plaintiffs did not

say) and demanded that Google also provide a 5% sample of sessions logs from several

days. That sample will likely mean producing millions of search sessions for each day

requested. The parties then spent weeks discussing a methodology to redact or remove sessions

that could identify a specific user. Since a 5% sample is too large to review manually, Google
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had to design an experiment to test Plaintiffs’ proposed methodology for privacy concerns. That

process is now complete, and Google has agreed to Plaintiffs’ proposal. Google is now assessing

how long it will take to extract and process the data into a human-readable format on a much

larger scale than the original 270-session sample.

        C.      Google’s Response to RFP 36 (Search Sessions Logs Data)

        Request 36 is a voluminous and very complex data request that requires Google to write

custom code to collect information from the relevant data sources. Plaintiffs have also continued

to add to this request. In connection with RFP 36, Plaintiffs have raised concerns regarding the

identification and collection/production of data. We address these issues below.

        Plaintiffs’ Request 36 added 52 fields to a data request that DOJ had served two months

earlier. Whereas DOJ’s request was based on a data response that Google had provided during

DOJ’s investigation, Plaintiffs’ 52 additional fields were entirely new; thus, Google did not have

existing code written to respond to it and had to spend time manually reviewing the log data in

order to see which variables could be provided in response to RFP 36 (and 37-38). On June 2,

2021, Plaintiffs added another 16 fields to this request. Google agreed to provide that

information as well. Google is currently burning a hard drive with the       terabytes of data for its

initial response to this request.

        In response to recent discussions with Plaintiffs, Google has worked to identify additional

data sources outside of the sessions logs on specific “search verticals” such as flights, hotels, and

shopping, and preserve any such data that is responsive to RFP 36. These verticals

                                             , and have necessitated time-consuming diligence

                . To date, Google has not identified any information responsive to RFP 36 that is

not in the sessions logs or that is not otherwise being maintained in the ordinary course of

business for the period covered by RFP 36. To the extent that Google’s investigation identifies
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additional data responsive to RFP 36, Google anticipates supplementing its original data

production.

       D.      Google’s Response to RFP 37 and 38

       Plaintiffs’ Request 37 asked for 68 different categories of information whenever 74

different “Selected Brands” appear in the search query (37) or on the search page (38). Request

38 asked Google to identify “all searches” that met any of four criteria for all 74 Selected

Brands, asked Google to “us[e] reasonable efforts to combine variants (e.g., stemmings,

misspellings, singular or plural forms, etc.)” and asked Google to then produce all the data for

Request 37, broken down by device type. As with RFP 36, RFPs 37-38 have required Google to

write new code to respond to these requests—Google does not have this information available in

the form requested by Plaintiffs. Google is currently engaged in drafting and quality checking

the new code, and anticipates producing the responsive data by the middle of August.




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Dated: July 27, 2021                 Respectfully submitted,

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